USCA4 Appeal: 24-2071      Doc: 22            Filed: 10/27/2024   Pg: 1 of 6




                                                                         FILED: October 27, 2024

                                UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT

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                                              No. 24-2071
                                       (1:24-cv-01778-PTG-WBP)
                                       (1:24-cv-01807-PTG-WBP)
                                         ___________________
        VIRGINIA COALITION FOR IMMIGRANT RIGHTS; LEAGUE OF WOMEN
        VOTERS OF VIRGINIA; LEAGUE OF WOMEN VOTERS OF VIRGINIA
        EDUCATION FUND; AFRICAN COMMUNITIES TOGETHER; UNITED STATES
        OF AMERICA

                     Plaintiffs - Appellees

        v.

        SUSAN BEALS, in her official capacity as Virginia Commissioner of Elections; JOHN
        O'BANNON, in his official capacity as Chairman of the State Board of Elections;
        ROSALYN R. DANCE, in her official capacity as Vice-Chairman of the State Board of
        Elections; GEORGIA ALVIS-LONG, in her official capacity as Secretary of the State
        Board of Elections; DONALD W. MERRICKS, in his official capacity as a member of
        the State Board of Elections; MATTHEW WEINSTEIN, in his official capacity as a
        member of the State Board of Elections; JASON MIYARES, in his official capacity as
        Virginia Attorney General; COMMONWEALTH OF VIRGINIA; VIRGINIA STATE
        BOARD OF ELECTIONS

                     Defendants - Appellants.

                                        ___________________

                                             ORDER
                                        ___________________

               Appellants’ motion for a stay of the district court’s preliminary injunction pending

        appeal is DENIED in all respects except for paragraph 7 of the district court’s order, where

        it is GRANTED. Appellants’ request for an administrative stay is denied as moot.

                                                       1
USCA4 Appeal: 24-2071       Doc: 22         Filed: 10/27/2024      Pg: 2 of 6




               Appellants have not shown they are likely to prevail in their appeal from the district

        court’s preliminary injunction. Despite having made various justiciability and sovereign

        immunity arguments before the district court, appellants drop all such claims before us. *

        Instead, appellants argue the challenged conduct does not violate the National Voter

        Registration Act (NVRA). Like the district court, we are unpersuaded.

               The NVRA’s Quiet Period Provision requires that any state “program” whose

        purpose “is to systematically remove the names of ineligible voters from the official lists

        of eligible voters” based on the failure to meet eligibility requirements must halt “not later

        than 90 days prior to” any election for federal office. 52 U.S.C. § 20507(c)(2)(A).

        Appellants have not denied that the challenged conduct constitutes a “program” before

        either the district court or this one. And, like the district court, we conclude the challenged

        program “most certainly is” systematic. ECF 11-1, at A-463. A process is systematic if it

        uses a “mass computerized data-matching process” to identify and confirm names for

        removal without “individualized information or investigation.” Arcia v. Fla. Sec’y of State,

        772 F.3d 1335, 1344 (11th Cir. 2014). Here, the challenged program does not require

        communication with or particularized investigation into any specific individual. Rather, the



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                 We have considered and confirmed that appellees have standing to seek the
        preliminary injunction granted by the district court. See City of Los Angeles v. Lyons,
        461 U.S. 95, 111 (1983) (holding that standing analysis must be conducted on a remedy-
        by-remedy basis). The federal government has standing to seek remedies for violations of
        federal statutes (like this one) that provide it with a right of action, see 52 U.S.C.
        § 20510(a), and “the presence of one party with standing is sufficient to satisfy Article III’s
        case-or-controversy requirement.” Rumsfeld v. F. for Acad. & Institutional Rts., Inc.,
        547 U.S. 47, 52 n.2 (2006).

                                                      2
USCA4 Appeal: 24-2071      Doc: 22          Filed: 10/27/2024     Pg: 3 of 6




        inclusion of a person’s name on a list electronically compared to other agency databases is

        enough for removal from the voter rolls.

               Appellants respond that “[t]he Quiet Period Provision does not cover noncitizens at

        all,” so even the most systematic efforts to remove noncitizens from voter registration lists

        within 90 days of a federal election are immune from judicial scrutiny. ECF 11-1, at 14.

        That argument violates basic principles of statutory construction by focusing on a

        differently worded statutory provision that is not at issue here and proposing a strained

        reading of the Quiet Period Provision to avoid rendering that other provision absurd or

        unconstitutional. That is not how courts interpret statutes.

               Appellants’ proposed interpretation also creates new problems. First, it renders

        language in the Quiet Period Provision superfluous by collapsing the distinction between

        “voters” and “eligible voters.” 52 U.S.C. § 20507(c)(2)(A); see, e.g., Mertens v. Hewitt

        Assocs., 508 U.S. 248, 258 (1993) (“We will not read the statute to render the modifier

        superfluous.”). Second, it requires reading different words in different provisions of the

        NVRA—“voters” in subsection (c)(2)(A) and “registrant” in subsection (a)(3)—as having

        the same meaning. See, e.g., Sosa v. Alvarez-Machain, 542 U.S. 692, 711 n.9 (2004)

        (“[W]hen the legislature uses certain language in one part of the statute and different

        language in another, the court assumes different meanings were intended.” (quotation

        marks removed)). Finally, appellants’ proposed interpretation appears to violate another

        bedrock principle of statutory interpretation—this time, the plain-meaning rule—by

        reading “registrant” in subsection (a)(3) as meaning something other than “one that

        registers or is registered” to vote. Registrant, Merriam-Webster, https://www.merriam-

                                                      3
USCA4 Appeal: 24-2071      Doc: 22          Filed: 10/27/2024     Pg: 4 of 6




        webster.com/dictionary/registrant [perma.cc/QF9U-RRTA]. “Better, we think, to stick with

        the language of” the provision before us, Allen v. Atlas Box & Crating Co., 59 F.4th 145,

        151 (4th Cir. 2023), while leaving questions about other provisions for another day.

               Appellants’ remaining arguments fare no better. Appellants err in asserting that the

        district court ordered them to “restore approximately 1,600 noncitizens to the voter rolls.”

        ECF 11-1, at 9. What the district court actually found was that “neither the Court nor the

        parties . . . know” that the people “removed from” the voter rolls under the challenged

        program “were, in fact, noncitizens,” and that at least some “eligible citizens . . . have had

        their registrations canceled and were unaware that this was even so.” ECF 11-1, at A-471,

        A-472; accord ECF 18-1, at 1–3 (private appellees recounting evidence of citizens eligible

        to vote being removed from voter rolls); Transcript of Motion Hearing at 13, Ala. Coal. for

        Immigrant Just. v. Allen, No. 2:24-cv-01254 (N.D. Ala. Oct. 16, 2024) (different district

        court finding that similar program led to more than 2,000 eligible voters mistakenly being

        declared ineligible to vote and inaccurately referred for criminal investigation). Appellants’

        motion does not acknowledge these factual findings (much less attempts to show they are

        clearly erroneous), and any casual suggestion to that effect in appellants’ reply brief is too

        little and comes too late to preserve such an argument for our consideration. See ECF 21,

        at 7; Grayson O Co. v. Agadir Int’l LLC, 856 F.3d 307, 316 (4th Cir. 2017).

               The district court also did not err in concluding there was no unreasonable delay in

        bringing suit. Rather, the private appellees “engaged in communications and discussions”

        to obtain records from the appellants beginning less than a week after the challenged

        executive order issued and “continuing through September.” ECF 11-1, at A-470; see id. at

                                                      4
USCA4 Appeal: 24-2071      Doc: 22          Filed: 10/27/2024     Pg: 5 of 6




        A-358 (private appellees representing they first reached out to appellants six days after the

        challenged executive order). Appellees then filed suit on the first day they could do so

        without waiting another 20 days before proceeding. See 52 U.S.C. § 20510(b).

               Additionally, the district court did not violate the Purcell principle. See generally

        Purcell v. Gonzalez, 549 U.S. 1 (2006) (per curiam). That “important principle of judicial

        restraint” protects the ability of “[l]awmakers” to “make a host of difficult decisions about

        how best to structure and conduct [an] election,” without interference to their “carefully

        considered and democratically enacted state election rules” right before an election.

        Democratic Nat’l Comm. v. Wis. State Legislature, 141 S. Ct. 28, 31 (2020) (mem.)

        (Kavanaugh, J., concurring in denial of application to vacate stay). But appellees do not

        challenge a state election law. Instead, they challenge the implementation of an executive

        order that was itself issued 44 days before the start of early voting and only 90 days before

        the end of the election. What is more, the statute under which appellees have sued (the

        NVRA) imposes limits that apply only within the immediate period before an election and

        expressly contemplates suits filed “within 30 days before the date of an election for Federal

        office.” 52 U.S.C. § 20510(b)(3).

               Appellants’ claims of irreparable injury absent a stay are weak. Under the

        preliminary injunction, appellants remain able to prevent noncitizens from voting by

        canceling registrations on an individualized basis or prosecuting any noncitizen who

        votes—options the district court specifically flagged at the hearing and in its written order.

        See ECF 11-1, at A-467, A-473, A-492. And the district court did not err in concluding that

        both the balance of the equities and the public interest favor interim equitable relief that

                                                      5
USCA4 Appeal: 24-2071       Doc: 22         Filed: 10/27/2024      Pg: 6 of 6




        gives full force and effect to a federal law that functions to prevent last-minute voter

        registration purges and to ensure that people who are legally entitled to vote are not

        prevented from doing so by faulty databases or bureaucratic mistakes. See Arcia, 772 F.3d

        at 1346 (noting that, during the 90-day quiet period, “the calculus changes” in favor of

        avoiding incorrectly removing eligible voters).

               We reach a different conclusion solely as to paragraph 7 of the district court’s

        remedial order. Federal Rule of Civil Procedure 65(d)(1) requires that “[e]very order

        granting an injunction . . . describe in reasonable detail . . . the act or acts restrained or

        required.” And injunctions in the period before an election impose heightened burdens on

        state officials where the injunction is difficult to “understand” and “implement.”

        Democratic Nat’l Comm., 141 S. Ct. at 31 (Kavanaugh, J., concurring in denial of

        application to vacate stay). While we appreciate the district court’s careful work under

        substantial time constraints, we conclude that paragraph 7 of the preliminary injunction is

        not sufficiently clear as to its scope and risks undue confusion in its implementation. We

        thus stay the portion of the district court’s order requiring the appellants “and their agents”

        to “educate local officials, poll workers, and the general public” about the impact of the

        district court’s order, including by “tracking of poll worker training in all 95 counties and

        independent cities in the Commonwealth.” ECF 11-1, at A-492.

               Entered at the direction of Judge Heytens with the concurrence of Chief Judge Diaz

        and Judge Thacker.

                                                   For the Court

                                                   /s/ Nwamaka Anowi, Clerk

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